                                                                              Pageof11of 120-cv-1297(JMF)



MANDATE
                          Case
                        Case    21-1290, Document
                             1:20-cv-01297-JMF    36, 09/01/2021,
                                               Document   80 Filed3166279,
                                                                    09/01/21Page1

                                        UNITED STATES COURT OF APPEALS
                                                      FOR THE
                                                 SECOND CIRCUIT
                                    ____________________________________________

        At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the Thurgood
 Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the 1st day of September, two
 thousand twenty-one,

  ____________________________________

  Edward Hellyer, Neville McFarlane, individually and on behalf of ORDER
  all others similarly situated, Haseeb Raja, individually and on      Docket No. 21-1290
  behalf of all others similarly situated, Shariq Mehfooz,
  individually and on behalf of all others similarly situated, Melissa
  Pinson, individually and on behalf of all others similarly situated,             USDC SDNY
  DeAnna Cottrell, individually and on behalf of all others similarly              DOCUMENT
  situated, John Frontera, individually and on behalf of all others                ELECTRONICALLY FILED
  similarly situated, Carrie Mason-Draffen, individually and on                    DOC #:   _________________
  behalf of all others similarly situated, Ronnie Gill, Steven                     DATE FILED: September 1, 2021
  Paniccia,

  lllllllllllllllllllllPlaintiffs- Appellees,

  Brittany Wiley, individually and on behalf of all others similarly
  situated,

  lllllllllllllllllllllPlaintiff,

  v.

  Altice USA, Inc., a New York Corporation,

  lllllllllllllllllllllDefendant - Appellant.
  _______________________________________

      The parties in the above-referenced case have filed a stipulation withdrawing this appeal pursuant to
 FRAP 42.

           The stipulation is hereby "So Ordered".




                                                                 For The Court:
                                                                 Catherine O'Hagan Wolfe,
                                                                 Clerk of Court




MANDATE ISSUED ON 09/01/2021
